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 1                                                                       The Honorable James L. Robart
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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9
10   MICROSOFT CORPORATION, a Washington
     corporation,
11                                                        NO. C10-1823-JLR
                                           Plaintiff,
12                                      [PROPOSED] ORDER GRANTING
            v.                          INTERNATIONAL BUSINESS
13                                      MACHINES CORPORATION’S MOTION
     MOTOROLA, INC., MOTOROLA MOBILITY, TO SEAL
14   LLC, and GENERAL INSTRUMENT
     CORPORATION,
15
                                        Defendant.
16
            This matter having come on regularly before the above-entitled Court on Nonparty
17
     International Business Machines Corporation’s (“IBM”) Motion to Seal, and the Court having
18
     considered the motion papers and the records on file herein,
19
            And the Court, being fully advised in the premises, now, therefore, it is hereby
20
     ORDERED, ADJUDGED and DECREED that IBM’s Motion is GRANTED as follows:
21
            1.   IBM has established that compelling reasons exist for sealing the payment terms
22
                 associated with the 2011 license agreement and the term of that agreement (the
23
                 duration) because they are confidential and trade secret information. IBM has done
24
                 nothing to put that information at issue in this case where it is not a party. The parties
25
                 and witnesses shall redact and seal the portion of any exhibits or demonstratives
26
                 which reference the payment terms and/or duration term of the IBM license

     [PROPOSED] ORDER GRANTING INTERNATIONAL BUSINESS                                38TH FLOOR
                                                                                 1000 SECOND AVENUE
     MACHINES CORPORATION’S MOTION TO SEAL (NO. C10-                          SEATTLE, WASHINGTON 98104
                                                                                    (206) 622-2000
     1823-JLR) - 1
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                 agreement(s.) If the license agreement itself is offered, it should be redacted and
 2
                 sealed in respect to these parts. If it is to be used, a proposed redacted copy of the
 3
                 license will be submitted by the parties with the concurrence of IBM.
 4
            2.   The courtroom is to be cleared and closed when argument on this topic, testimony on
 5
                 this topic, or these exhibits are discussed.
 6
            3. If IBM license agreements in addition to the 2011 agreement are planned to be raised
 7
                 by the parties, the parties are to notify IBM immediately so that it can seek to
 8
                 seal/redact confidential payment and duration terms from these other agreements.
 9
            DATED this_____ day of November, 2012.
10

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12
                                                    Honorable James L. Robart
13                                                  United States District Court Judge
14

15   Presented by:

16   BYRNES KELLER CROMWELL LLP
17   By /s/ John A. Tondini
18       Bradley S. Keller, WSBA #10665
         John A. Tondini, WSBA #19092
19       1000 Second Avenue, 38th Floor
         Seattle, Washington 98104
20       Telephone: 206.622.2000
         Facsimile: 206.622.2522
21       bkeller@byrneskeller.com
         jtondini@byrneskeller.com
22   Attorneys for Nonparty
     International Business Machines Corp.
23

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26



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 1                                   CERTIFICATE OF SERVICE
 2           The undersigned attorney certifies that on the 29th day of October, 2012, I electronically
 3   filed the foregoing with the Clerk of the Court using the CM/ECF system which will send
     notification of such filing to all counsel on record in the matter.
 4

 5
                                                          /s/ John A. Tondini
 6
                                                          Byrnes Keller Cromwell LLP
 7                                                        1000 Second Avenue, 38th Floor
                                                          Seattle, WA 98104
 8                                                        Telephone: (206) 622-2000
                                                          Facsimile: (206) 622-2522
 9                                                        jtondini@byrneskeller.com
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     [PROPOSED] ORDER GRANTING INTERNATIONAL BUSINESS                              38TH FLOOR
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